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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  WILLIAM BARNHOUSE,                            )
            Plaintiff,                          )
  v.                                            )       Cause No. 1:19-cv-958-TWP-DLP
                                                )
  CITY OF MUNCIE, et al.,                       )
            Defendants.                         )


                                                ORDER
         This matter comes before the Court on the Defendants City of Muncie, Fonda King,

  Steve Stewart, Gordon Watters, Joseph Todd, Steve Blevins, Donald Bailey, and Terry Winters’

  motion to enlarge the time to file the reply in support of their partial motion to dismiss the

  plaintiff’s First Amended Complaint. Good cause having been shown, the Court find that the

  motion should be granted.

         IT IS THEREFORE HEREBY ORDERED that the deadline for filing the reply in

  support of the Muncie defendants’ partial motion to dismiss is extended to and including October

  1, 2019.



  Dated:__________________                          ________________________________________
                                                    Magistrate Judge Doris L. Pryor
                                                    Southern District of Indiana
  Distribution:
  To all ECF-registered counsel of record via ECF-generated email
